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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,                            No. 1:19-CR-117

v.                                                   Hon. Robert J. Jonker
                                                     Chief U.S. District Judge
LARRY CHARLES INMAN,

            Defendant.                               FILED UNDER RESTRICTED ACCESS
_________________________________/

     UNITED STATES’ MOTION IN LIMINE TO EXCLUDE EXPERT TESTIMONY
                    REGARDING DIMINISHED CAPACITY
       The United States of America, by Andrew Byerly Birge, United States Attorney for the

Western District of Michigan, and Christopher M. O’Connor and Ronald M. Stella, Assistant

United States Attorneys, moves for entry of an order in limine precluding Defendant, Larry

Charles Inman, from presenting testimony of an expert witness at trial on the issue of his alleged

diminished capacity because the opinions disclosed to date are not relevant to that issue and he

has failed to properly comply with Fed. R. Crim. P. 16 regarding his expert disclosure.
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       The reasons for the United States’ motion in limine are further explained in the United

States’ Memorandum in Support filed contemporaneously with this pleading.

                                            Respectfully submitted,

                                            ANDREW BYERLY BIRGE
                                            United States Attorney
Dated: October 29, 2019                     /s/ Ronald M. Stella
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                                            RONALD M. STELLA
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